
13 N.Y.2d 1050 (1963)
In the Matter of Cup &amp; Saucer Cottage Restaurant, Inc., Respondent,
v.
New York State Liquor Authority, Appellant.
Court of Appeals of the State of New York.
Argued November 18, 1963.
Decided November 27, 1963.
John J. Hyland and Hyman Amsel for appellant.
Samuel Bernstein for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE and FOSTER. Judges DYE and SCILEPPI dissent and vote to reverse the order of the Appellate Division and to confirm the determination of the State Liquor Authority.
Order affirmed, with costs; no opinion.
